Case 1:14-cr-00080-MAC-KFG           Document 61         Filed 12/24/14   Page 1 of 2 PageID #:
                                            181




                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §      CASE NO. 1:14-CR-80(3)
                                                 §
KAILYN DESHONDRA PETE                            §

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

Before the United States Magistrate Judge [Doc. #55]. The magistrate judge recommended that the

Court accept the defendant’s guilty plea and conditionally accept the plea agreement. He further

recommended that the Court finally adjudge the defendant as guilty on Count Four of the charging

Indictment filed against the defendant in this cause.

       The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea [Doc. #55] of the United States Magistrate

Judge are ADOPTED. The Court accepts the defendant’s plea, but defers acceptance of the plea

agreement until after review of the presentence report. The Court further ORDERS the defendant’s

attorney to read and discuss the presentence report with the defendant, and file any necessary

objections to the report before the date of the sentencing hearing.




                                                -1-
Case 1:14-cr-00080-MAC-KFG          Document 61       Filed 12/24/14     Page 2 of 2 PageID #:
                                           182



       It is further ORDERED that, in accordance with the defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the defendant, Kailyn DeShondra Pete, is adjudged

as guilty on Count Four of the Indictment charging violations of 18 U.S.C. § 666(a)(1)(A).



 So ordered and signed on


 Dec 24, 2014




                                              -2-
